                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


KATHRYN KNOWLTON, et al.,

       Plaintiff,

     v.                                                    Case No. 20-CV-1660

CITY OF WAUWATOSA, et al.,

      Defendants.


                         REVISED FINAL SCHEDULING ORDER


          Pursuant to the September 15, 2022 scheduling conference, the parties are ordered as

follows:

As to outstanding discovery requests:

1.    Plaintiffs are ordered to prepare a written inventory of outstanding discovery. The

      inventory must very specifically list when the discovery demand was made and what

      specific request is allegedly still outstanding. In other words, if a written interrogatory

      or request for production of documents contains a multi-part request, the inventory

      must state which specific request still lacks a sufficient response. Plaintiffs must also

      articulate the relevancy of the discovery request to any remaining party’s claim or

      defense. Plaintiffs are ordered to provide this inventory to the Defendants no later than

      September 21, 2022.

2.    Defendants are ordered to respond to Plaintiffs’ outstanding discovery inventory as

      follows: If the discovery was already provided, Defendants shall cite to the responsive

      documents, referencing the specific Bates number if applicable. If the discovery has not




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      been provided, Defendants shall state when the discovery will be provided to Plaintiffs.

      Defendants are ordered to provide this response to the Plaintiffs no later than

      September 28, 2022.

       As to additional discovery requests:


3.    No later than September 28, 2022, the parties shall each provide to the other a list of

      the specific names of people proposing to be deposed. For each person, the party must

      list the claim and/or defense to which the person’s testimony is relevant.

4.    Regarding the “Protestor List” and the Dropbox hyperlink, the Plaintiffs are ordered

      to draft a proposed written stipulation, articulating with specificity the actions the

      Plaintiffs are requesting that the Defendants take as to these items. The Plaintiffs must

      submit the draft proposal to the Defendants, who may then either agree to the proposal

      or propose modifications. After the parties have reached a stipulation, the parties will

      submit the stipulation for the Court’s approval no later than September 28, 2022.

5.    As to additional written discovery, the parties should continue to follow the Order

      dated October 19, 2021 regarding the limits on written discovery. (See Docket # 99.)

Report to the Court:


6.    No later than 5 p.m. on October 4, 2022, the parties should work, in good faith, to

      jointly submit a report summarizing the status of the outstanding discovery requests as

      exchanged in paragraphs 1 and 2 above. The report should also include the names of

      all of those persons proposing to be deposed and for each person, the claim and/or

      defense to which the person’s testimony is relevant. The report should also include an

      update on the status of any written discovery.



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7.    The Court will conduct a status conference as to the progression of discovery on

      October 7, 2022 at 9:00 a.m. via Zoom.

8.    All requests for discovery must be served by a date sufficiently early so that all discovery

      in this case can be completed no later than November 18, 2022.

Discovery disputes going forward:

9.    Given these deadlines, the parties do not have time to engage in protracted discovery

      motion practice. For this reason, if a discovery dispute arises, the parties are ordered to

      directly confer and attempt to resolve the dispute, either by telephone or Zoom. It is

      not sufficient to merely send an email or letter. If, and only if, after the parties have

      made at least two attempts to resolve the dispute in good faith, the parties remain

      unable to reach an accord, the parties are then ordered to file a joint motion, in the form

      of a letter, articulating: (1) the specific discovery request in dispute, (2) when the

      discovery demand was made, and (3) each party’s position as to how the discovery

      demand has or has not been complied with. This joint letter must also include the dates,

      times, and manners each conference took place, as well as the names of all participants

      to the conferences. The failure to comply with the letter or the spirit of this rule will be

      sufficient grounds to deny the discovery motion.

Additional Deadlines

10.   Counsel are ordered to confer with their respective clients as to whether they wish to

      explore the possibility of mediation in this case, either using the services of a randomly

      assigned magistrate judge or other third party neutral. The parties are ordered to submit

      a joint letter either requesting or declining mediation no later than October 17, 2022.



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11.   All dispositive pretrial motions together with briefs are to be filed in accordance with

      Civil L.R. 56, and no later than December 19, 2022. Such motions shall not be filed

      prior to the date of completion of discovery. Note that this Order does not preclude the

      filing of dispositive motions after the close of discovery on November 18, 2022, but

      before the December 19, 2022 dispositive motion deadline.

12.   Jury trial in this case will be held beginning on Monday, May 1, 2023 at 8:30 a.m. At

      this time, the Court is reserving one week for completion of the jury trial. If, prior to

      the final pretrial conference, the parties believe additional time will be necessary for

      trial, the parties are to raise the issue in their final pretrial reports and explain why

      additional time is needed.

13.   The final pretrial conference will be held on April 24, 2023 at 9:00 a.m. via Zoom.

14.   The final pretrial reports must be electronically filed no later than 5:00 p.m. on April

      3, 2023. The final pretrial reports must separately address each of the items found in

      Civil L. R. 16(c)(1).

          a. In addition to including a short summary of the facts, claims, and defenses as

              required by Civil L.R. 16(c)(1)(A), the parties are also ordered to list the

              elements of each asserted claim.

          b. The parties are directed to Civil L.R. 16(c)(1)(C) which states that the final

              pretrial report must include “the names and addresses of all witnesses expected

              to testify.” Any witness not included on the list in the final pretrial report will

              not be permitted to testify.

          c. The parties are also directed to Civil L.R. 16(c)(1)(F), which provides that the

              final pretrial report must include “a designation of all depositions or portions


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             of transcripts or other recordings of depositions to be read into the record or

             played at trial as substantive evidence.” The parties should confer and create a

             single list of deposition designations and counter-designations, if necessary. If

             the parties cannot agree, then each side should include their proposed

             deposition designations in their final pretrial reports, and the opposing side

             should include any counter-designations in a response filed no later than 5:00

             p.m. on April 10, 2023.

          d. Any other objections to any portions of a party’s final pretrial report, including

             proposed jury instructions, voir dire questions, exhibits, etc. must be filed no

             later than 5:00 p.m. on April 10, 2023.

15.   All Daubert motions and motions in limine must be filed no later than 5:00 p.m. on

      April 3, 2023. Reponses to any such motions must be filed no later than 5:00 p.m. on

      April 10, 2023. No reply briefs are permitted.

16.   The dates set in this Amended Scheduling Order are firm. No dates will be extended

      absent extraordinary circumstances.



      Dated at Milwaukee, Wisconsin this 16th day of September, 2022.


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                                                  NANCY JJOSEPH
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                                                  United States Magistrate Judge




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